4:09-cr-03005-RGK-CRZ     Doc # 69    Filed: 06/03/09    Page 1 of 5 - Page ID # 222




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )           4:09CR3005
                                            )
           v.                               )
                                            )
                                            )
RICHARD CANFIELD,                           )   REPORT AND RECOMMENDATION
                                            )
                      Defendant.            )



     Defendant seeks suppression of two statements made to Trooper
Paul Hazard of the Nebraska State Patrol at the scene of a traffic
stop on I-80 in Nebraska on November 25, 2008.                     Specifically,
defendant claims he was “in custody” at the time he made two
incriminating statements during the traffic stop.                I conclude that
he was not “in custody” for purposes of requiring Miranda warnings,
and he made the statements voluntarily. I therefore recommend that
the motion be denied.


     The motion was heard by me on May 20, 2009.               The events of the
traffic stop were videotaped by an in-car video camera and recorded
by means of the microphones in the trooper’s vehicle as well as a
body microphone he was wearing.             Without repeating unnecessary
information,    the    facts   as    pertains   to      this   defendant    are   as
follows.


     Defendant Canfield was a passenger in a vehicle driven by the
co-defendant and stopped by Trooper Hazard for speeding.                    Hazard
had already spotted a small amount of marijuana in the car, and had
determined from statements made by the co-defendant and his own
observations that there were guns, silencers, and ammunition in the
4:09-cr-03005-RGK-CRZ        Doc # 69    Filed: 06/03/09    Page 2 of 5 - Page ID # 223



vehicle.      The co-defendant had stated that the weapons belonged to
Defendant Canfield.      Hazard had Canfield exit the vehicle and move
in front of it several feet and then to sit just off the shoulder
area    of   the   roadway    while     he,    Hazard,     searched    the   vehicle.
Another trooper had just arrived to assist.


       Trooper Hazard had Canfield approach him and asked, “Whose
guns?”       Canfield answered that they were his, Canfield’s, guns.
Hazard then asked “Where’d you get those?”                   Canfield said he had
just “acquired them over the years.”                Hazard then asked, “Do you
have a permit for them?”         Canfield stated that the permits were at
his home, but he had none there at the scene of the stop.                      Hazard
then advises Canfield that if he had registered the guns and had
permits for them, he would have known that the permits were
required to be with the guns.             He then challenges Canfield with,
“Do you want to bullshit me some more or do you want to be straight
up?”    Canfield then says he does not want to say anything further,
and Hazard arrests and cuffs him.              Exhibit 1, DVD of stop, at 15:
46-8.    Hazard does ask Canfield one more question after he’s been
arrested, but Canfield invokes his right to silence and declines to
answer.      As I understand the motion, that invocation of his right
to silence is not part of the motion.             If it were, that fact should
be suppressed, as defendant Canfield is clearly “in custody” at
that point and has not been given Miranda warnings.


       Until the cuffs were placed on his wrists, though, Canfield
was not “in custody.”          He was, to be sure, detained, and was not
free to leave, but he was not being held with any of the force
reasonably understood to be associated with a formal arrest.                       The
Eighth Circuit Court of Appeals has stated:




                                           2
4:09-cr-03005-RGK-CRZ   Doc # 69   Filed: 06/03/09     Page 3 of 5 - Page ID # 224



      An individual is “in custody” when he has been formally
      arrested or his freedom of movement has been restrained to a
      degree associated with a formal arrest.           [citations omitted].
      In United States v. Griffin [,922 F.2d 1343 (8th Cir. 1990)]
      we enumerated six indicia of custody:

            (1) whether the suspect was informed at the time of
            questioning that the questioning was voluntary, that the
            suspect was free to leave or request the officers to do
            so, or that the suspect was not considered under arrest;
            (2) whether the suspect possessed unrestrained freedom of
            movement during questioning; (3) whether the suspect
            initiated contact with authorities or voluntarily
            acquiesced to official request to respond to questions;
            (4) whether strong arm tactics or deceptive stratagems
            were employed during questioning; (5) whether the
            atmosphere of the questioning was police dominated; or,
            (6) whether the suspect was placed under arrest at the
            termination of the questioning.

      Id., 922 F.2d at 1349.      The presence of the first three
      indicia tends to mitigate the existence of custody at the time
      of questioning; the presence of the last three indicia
      aggravate the existence of custody. Id.

United States v. Wolk, 337 F.3d 997, 1006 (8th Cir. 2003).

      In this case, the atmosphere was clearly police dominated,
Canfield’s movement was restrained, and he clearly did not initiate
the   contact.     He   was   arrested     at    the     conclusion      of   the
conversation.    However, there were no deceptions practiced on him,
and no use of threats or promises or inducements to speak.                      In
short, the officer did not engage in coercive activity, Colorado v.
Connelly, 479 U.S. 157, 163-4 (1986), nor overreach his authority,
nor overbear Canfield’s will to remain silent.              Canfield chose to
answer the officer’s questions, knowing he could invoke his right
to be silent, as he promptly did shortly after the challenged
exchange.



                                     3
4:09-cr-03005-RGK-CRZ     Doc # 69    Filed: 06/03/09     Page 4 of 5 - Page ID # 225



     The situation depicted in the videotape is really a Terry
stop.   As argued by the government, the Eighth Circuit and the
Supreme Court have so held.


             The Supreme Court has analogized roadside
             questioning during a traffic stop to a Terry
             stop, which allows an officer with reasonable
             suspicion to detain an individual in order to
             ask ‘a moderate number of questions to
             determine his identity and to try to obtain
             information confirming or dispelling the
             officer’s suspicions.’”

United States v. Rodriguez-Arreola, 270 F.3d 611, 617 (8th Cir.
2001) quoting Berkemer v. McCarty, 468 U.S. 420, 439 (1984).


     In this case Trooper Hazard clearly had reasonable suspicion
justifying further investigation.           The car was speeding.            He had
seen someone inside the car throw a bag containing something white
out of a window as he caught up to it.                  He saw marijuana on the
console between the seats.           His further investigation uncovered
several guns and ammunition which he believed should have serial
numbers on them and did not.         Finally, he had been advised by the
co-defendant’s father that the co-defendant had recently changed
and now usually wore a bulletproof vest. Finally, the co-defendant
seemed to know, or at least acted as though he knew, more about
registration requirements than the owner of the guns, and his
information differed from that obtained by the trooper from an ATF
agent   by   telephone.      The     situation     dripped       with   reasonable
suspicion justifying further inquiry until the trooper determined
what was afoot, and he did so quite promptly and properly.                  Neither
the defendant’s Miranda rights nor his right to make only voluntary
statements was violated in this case.




                                        4
4:09-cr-03005-RGK-CRZ   Doc # 69   Filed: 06/03/09   Page 5 of 5 - Page ID # 226



     IT THEREFORE HEREBY IS RECOMMENDED to the Hon. Richard G.
Kopf, United States District Judge, pursuant to 28 U.S.C.
§636(b)(1)(B) that the defendant’s motion to suppress, Filing No.
26, be denied.

     The parties are notified that failure to object to this
recommendation as provided in the local rules may result in a
waiver of the right to appeal the district judge’s adoption of
findings in the recommendation.


    Dated June 3, 2009.

                                   BY THE COURT



                                   s/    David L. Piester
                                   United States Magistrate Judge




                                     5
